446 F.2d 889
    Hubert WRIGHT, Petitioner-Appellant,v.Dr. George J. BETO, Director, Texas Dept. of Corrections, Respondent-Appellee.
    No. 71-1496 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    August 16, 1971.
    
      Appeal from United States District Court, Northern District of Texas; William N. Taylor, Jr., District Judge.
      Hubert Wright, pro se.
      Crawford C. Martin, Atty. Gen., State of Tex., Larry J. Craddock, Asst. Atty. Gen., Nola White, First Asst. Atty. Gen., Alfred Walker, Executive Asst. Atty. Gen., Robert C. Flowers, Asst. Atty. Gen., Austin, Tex., for respondent-appellee.
      Before BELL, AINSWORTH, and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal is without redeeming merit. It would have been appropriate for the district court to have denied the certificate of probable cause, thus terminating the processing of an insubstantial claim.
    
    
      2
      Affirmed.
    
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co., of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
    
    